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                                                                   CASE NO.: 5:17-cv-48-Oc-40PRL




             Defendant,


  JOLT MOTION FOR K%TRY OF O~KR BISMISSIXG CASK ~TH P~WOICK
             Plaintiff, CATHKMN            ~MO,   and Defendant,   STATE FARM MUTUAL

  AUTOMOBILE INSU~ACK COMPA~, file this Joint Motion for Entry of an Order

  Dismissing the Case With Prejudice and would show that the Parties have amicably settled their

  dif         ces,


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